        Case 2:09-cv-05013-JFW-JEM Document 1 Filed 07/13/09 Page 1 of 11 Page ID #:1
,   .
                                                                               . FILED

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          2 A PROFESSIONAL CORPORATION                                    2009 JUL I 3 PH 2: II
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                                                                          --------
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               James M. Swoben
          9

         10                                  UNITED STATES DISTRICT COURT

         11                                 CENTRAL DISTRICT OF CALIFORNIA

         12

         13

         14
                l.JNITED STATES OF AMERICA and
                STATE OF CALIFORNIA, ex reI JAMES
                                                                      ~SV€P9- 5 a 13jf\N
                                                                                       (Jet'
                M. SWOBEN,
                                                                     COMPLAINT FOR VIOLATIONS
         15
                              Plaintiffs,                            OF FEDERAL FALSE CLAIMS
                                                                     ACT AND CALIFORNIA FALSE
         16
                vs.                                                  CLAIMS ACT; REQUEST FOR
                                                                     JURY TRIAL
         17
                SCAN HEALTH PLAN, a California
         18     corporation, fka SENIOR CARE ACTION
                NETWORK; SENIOR CARE ACTION                           [UNDER SEAL PER 31 U.S.C. S
                NETWORK, a business entity, form                      3730(b)(2)]
         19
                unknown,
         20)
                              Defendants.
         21

         22
                      COMES NOW, Plaintiff and Qui Tam Relator James M. Swoben, individually and on
         23
               behalf of the United States of America and the State of California, and alleges as follows:
         24
                                               JURISDICTION AND VENUE
         25
                      1.     Plaintiff and Qui Tam Relator James M. Swoben (Swoben) files this action on
         26
               behalf and in the name of the United States Government ("Government") seeking damages and
         27
               civil penalties against the defendants for violations of31 U.S.C. S 3729(a). Swoben also files
         28
               this action on behalf and in the name of the State of California ("California") seeking damages

                                                              -1-
                                                       COMPLAINT
     Case 2:09-cv-05013-JFW-JEM Document 1 Filed 07/13/09 Page 2 of 11 Page ID #:2
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       1 and civil penalties against the defendants for violations of California Government Code S

       2   12651(a).
       3          2.       This Court's jurisdiction over the claims for violations of 31 U.S.C. S 3729(a)
       4   is based upon 31 U.S.C. S 3732(a). This Court's jurisdiction over the claims for violations of
       5   California Government Code S 12651(a) is based upon 31 U.S.C. S 3732(b).
       6          3.       Venue is vested in this Court ~nder 31 U.S.c.   S 3732(a) because at least one of
       7   the defendants transacts business in the Central District of California and many acts
       8   constituting violations of 31 U.S.C. S 3729(a) occurred in the Central District of California.

       9

      10                                            THE PARTIES
      11          4.       Swoben is a resident and citizen of the United States, the State of California, and
      12 of this District. Swoben brings this action of behalf of the Government under 31 U;S.c.             S
      13 3730(b) and on behalf of California under California Government Code S 12652( c).
      14          5.       At all times relevant, the Government funded the Medicare program which
      15 provides payment of healthcare services for, among others, those 65 years or older. The
      16 Government provided a Medicare option known as Medicare+Choice,                     now known as
      17 Medicare Advantage, in which the eligible Medicare beneficiary could enroll with a managed
      18 care organization (MCa) contracted with the Government for a capitated rate paid by the
      19 Government that would provide at least those services provided to standard Medicare

      205 beneficiaries.
      21          6.       At all time relevant, California administered and partially funded the Medi-Cal
      22   program in which eligible Medi-Cal beneficiaries could enroll with a MCa contracted with
      23   California for a capitated rate paid by California that would provide at least those services
      24   provided to standard Medi-Cal beneficiaries. The Government also partially funded the Medi-

      25   Cal program as part of the Government's Medicaid program.
      26          7.       Defendant SCAN Health Plan is and was a corporation formed under the laws of

      27   the State of California, and transacted business in, among other places, the Central District of
      28   California. SCAN Health Plan was formerly known and doing business as Senior Care Action


                                                           -2-

                                                      COMPLAINT
     Case 2:09-cv-05013-JFW-JEM Document 1 Filed 07/13/09 Page 3 of 11 Page ID #:3
..

       1 Network. Defendant Senior Care Action Network is a business entity, form unknown, that
       2   transacted business in, among other places, the Central District of California.     Defendants
       3   SCAN Health Plan and Senior Care Action Network are collectively referred in this Complaint

       4   as "SCAN."
       5          8.     At all times relevant, SCAN was and is a health maintenance organization
       6   (HMO) that provides health care services in.Southern California to the elderly covered under
       7   Medicare. Between March 2004 and September 2006, Swoben was employed with SCAN.

       8

       9                                   COMMON ALLEGATIONS
      10          9.     During or after-about 1984, SCAN was awarded a contract by the Government

      11 to operate as a Social HMO Demonstration Project ("Social HMO contract"). The purpose
      12 of the Social HMO Demonstration Project was to explore the viability of preverrting or
      13 delaying older-adult institutionalization in skilled-nursing facilities by providing such eligible
      14 individuals with a combination of health care and personal care services, including homemaker
      15 ser/ices, personal-care services, adult day care, respite care, and medical transportation.
      16   SCAN served, among other places, the counties of Los Angeles, Riverside and San
      17   Bernardino.   Under the terms of the Social HMO contract, SCAN agreed to provide such
      18   services to Medicare+Choice, now Medicare Advantage, beneficiaries for a monthly capitated
      19 payment paid by the Government.        Plaintiff is informed and believes that during and after
      2d   2001, the Government paid SCAN an additional monthly capitated rate of approximately $800
      21   per nursing home certifiable (NHC) beneficiarj.     Plaintiff is informed and believes that the
      22   Social HMO contract ended on or about December 31,2007.
      23          10.    During or about 2001, California awarded a contract to SCAN (the "Medi-Cal
      24   contract") to provide home and community-based long-term care to Medi-Cal beneficiaries
      25   that were 65 years of age or older and eligible for Medicare Parts A and B. The purpose of
      26   this contract was to keep senior citizens out of long-term placement in skilled-nursing
      27   facilities. The Medi-Cal contract was extended or renewed until about December 31,2007.
      28   Plaintiff is informed and believes that SCAN received a monthly capitated rate of


                                                         -3-
                                                    COMPLAINT
Case 2:09-cv-05013-JFW-JEM Document 1 Filed 07/13/09 Page 4 of 11 Page ID #:4




   1 approximately $3,300 per Medi-Cal beneficiary from Medi-Cal.
   2           11.    The services SCAN undertook and provided under its Social HMO contract with
   3    the Government contract were included in the scope of services SCAN was to provide under
   4    its Medi-Cal contract.
   5           12.    SCAN provided services to numerous patients that were beneficiaries under both
   6    the Medicare Social HMO contract and the ~edi-Cal contract ("dual eligible beneficiaries").
   7    During or about 2007, Swoben discovered that although SCAN undertook and provided such
   8    dual eligible beneficiaries the care and services that were covered and paid for by the
   9    Government under the Medicare Social HMO contract, SCAN continued to bill for and receive
  10 capitated monthly payments {)fapproximately $3,300 per beneficiary from Medi-Cal without
  11 reduction in payment for the care and services SCAN undertook and provided under the

  12 Medicare Social HMO contract.
  13           13.    Under applicable law, Medicare is pnmary and Medi-Cal            secondary   III

  14 connection with the care and services undertook and rendered by SCAN to the dual eligible
  15 beneficiaries. Plaintiff is infonned and believes that by law, or the terms of SCAN' s contracts

  16 with the Government or California, SCAN was required to not bill, and/or not retain payments
  17 from, Medi-Cal for undertaking the services rendered to the dual eligible beneficiaries to the
  18 extent such services were covered and paid for under the Medicare Social HMO contract.
  19 Plaintiff is informed and believes that Medi-Cal's overpayments for dual eligible NHC
  2t)   beneficiaries amount to at least $800 per NHC beneficiary between 2001 and 2007 amounting

  21    to over $200 million.
  22           14.    SCAN's fraudulent billing practices included submitting cost reports and other
  23    financial reports to Medi-Cal that failed to disclose SCAN's receipts of monies from the
  24    Medicare Social HMO contract. SCAN's utilization of such fraudulent cost reports and other
  25    financial reports caused Medi-Cal to overpay SCAN for services it already undertook by virtue
  26    of the Medicare Social HMO contract, and concealed such overpayments.           At all times
  27    relevant, SCAN was aware that such overpayments by Medi-Cal were due and owing to Medi-
  28    Cal, but SCAN continued to conceal said overpayments through the use of cost reports and


                                                     -4-
                                                COMPLAINT
      Case 2:09-cv-05013-JFW-JEM Document 1 Filed 07/13/09 Page 5 of 11 Page ID #:5
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        1 other financial reports that concealed the payments made under the Medicare Social HMO
        2   contract.
        3           15.      SCAN knew that its cost reports, loss ratio reports, and other financial reports
        4   submitted to Medi-Cal were fraudulent as evidenced by the fact that its outside actuaries
        5   refused to sign and approve such submissions.

        6

        7                                     FIRST CLAIM FOR RELIEF
        8                       (Violation of31 U.S.c. ~ 3729(a) against all defendants)
        9          16.       Plaintiff realleges and incorporates by reference all previous paragraphs of this

       10 complaint as though fully set-forth at length.
       11          17.       At all times mentioned, SCAN routinely and repeatedly violated 31 U.S.C. ~
       12 3729(a)(I) by knowingly presenting and/or causing to present to agents, contractors or
       13 employees of the Government false and fraudulent billings for payment and approval.
       14          18.       At all times mentioned, SCAN routinely and repeatedly violated 31 U.S.c. ~
       15 3729(a)(2) by knowingly making, using, and/or causing to make or use false records and
       16 statements to get false and excessive billings paid or approved by Medicare and Medi-Cal.
       17          19.       At all times mentioned, SCAN routinely and repeatedly violated 31 U.S.c.        S
       18 3729(a)(4) by retaining and concealing the excessive capitated payments SCAN received for

       19 dual eligible beneficiaries.
       2d          20.       At all times mentioned, SCAN routinely and repeatedly violated 31 U.S.C. S
       21   3729(a)(7) by knowingly making, using and/or causing to make or use false records and
       22   statements to conceal, avoid, or decrease its obligation to return to the Medi-Cal program the
       23   excessive capitated payments SCAN received for dual eligible beneficiaries.
       24          21.       Swoben is informed and believes, and upon such information and belief alleges,
       25   that as a result of SCAN's concealments and use of false records and statements, Medi-Cal
       26   paid in excess of $200 million more than it would have if SCAN had properly and truthfully
       27   billed and reported, and revealed the excessive payments received for, dual eligible

       28   beneficiaries.


                                                            -5-
                                                       COMPLAINT
.. Case 2:09-cv-05013-JFW-JEM Document 1 Filed 07/13/09 Page 6 of 11 Page ID #:6

    1           22.    As a result of SCAN's conduct, SCAN is liable to the Government for three
    2    times the amount of damages sustained by the Government as a result of the false and
    3    fraudulent billing, reporting and concealment practices alleged above.
    4           23.    As a result of SCAN's conduct, 31 U.S.C. S 3729(a) provides that SCAN is
    5    liable to the Government for civil penalties between $5,000 and $10,000 for each such false

    6    and fraudulent billing, reporting and concea.~ment.
    7           24.    Swoben is also entitled to recover his attorneys fees, costs and expenses from

    8    the SCAN pursuant to 31 U.S.c.      S 3730(d).
    9

   10                                  . SECOND CLAIM FOR RELIEF
   11             (Violation of California Government Code S 12651(a) against defendants)
   12           25.    Plaintiffrealleges   and incorporates by reference all previous paragraphsbfthis

   13 complaint as though fully set forth at length.
   14           26.    At all times mentioned, SCAN routinely and repeatedly violated California
   15 Government Code         S 12651(a)(1) by knowingly presenting and/or causing to present to
   16 California employees, agents and/or contractors false and fraudulent billings for payment and

   17 approval.
   18           27.    At all times mentioned, defendants routinely and repeatedly violated California
   19 Government Code S 12651(a)(2) by knowingly making, using, and/or causing to make or use
   2ri   false records and statements to get false and excessive billings paid or approved by Medi-Cal.
   21           28.    At all times mentioned, SCAN routinely and repeatedly violated California
   22    Government Code S 12651 (a)(4) by retaining and concealing the excessive capitated payments

   23    SCAN received for dual eligible beneficiaries.
   24           29.    At all times mentioned, SCAN routinely and repeatedly violated California

   25    Government Code S 12651 (a)(7) by knowingly making, using and/or causing to make or use
   26    false records and statements to conceal, avoid, or decrease its obligation to return to the Medi-
   27    Cal program the excessive capitated payments SCAN received for dual eligible beneficiaries.
   28           30.    Swoben is informed and believes, and upon such information and belief alleges,


                                                          -6-
                                                   COMPLAINT
     Case 2:09-cv-05013-JFW-JEM Document 1 Filed 07/13/09 Page 7 of 11 Page ID #:7
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       1 that as a result of SCAN's concealments and use of false records and statements, Medi-Cal
      2 paid in excess of $200 million more than it would have if SCAN had properly and truthfully
       3 billed and reported, and revealed the excessive payments received for, dual eligible

      4    beneficiaries.
      5           31.       As a result of SCAN's conduct, SCAN is liable to California for up to three
      6    times the amount of damages sustained by ~.alifornia as a result of the false and fraudulent
      7 billing, reporting and concealment practices alleged above.
      8           32.       As a result of SCAN's conduct, California Government Code 912651(a)
      9    provides that defendants are liable to California for civil penalties of up to $10,000 for each

     10 such false and fraudulent billing, reporting and concealment.
     11           33.       Swoben is also entitled to recover his attorneys fees, costs and expenses from

     12 SCAN pursuant to California Government Code 9 12652(g)(8).

     13

     14                                         PRAYER FOR RELIEF
     15           vVHEREFORE, Plaintiff and Qui Tam Relator James M. Swoben prays for relief as

     16    follows:

      17                               FOR THE FIRST CLAIM FOR RELIEF

      18           1.       Treble the Government's damages according to proof;

      19          2.        Civil penalties according to proof;

     20           3.        A relator's award of up to 30% of the amounts recovered by or on behalf of~he

     21    Government;

     22                               FOR THE SECOND CLAIM FOR RELIEF

     23           4.        Treble the State of California's damages according to proof;

     24            5.       Civil penalties according to proof;

     25           6.        A relator's award of up to 50% of the amounts recovered by or on behalf of the

     26    State of California;

     27                                    FOR ALL CLAIMS FOR RELIEF

     28            7.       Attorneys fees, expenses, and costs; and


                                                           -7-
                                                      COMPLAINT
                 Case 2:09-cv-05013-JFW-JEM Document 1 Filed 07/13/09 Page 8 of 11 Page ID #:8
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                   1                  8.     Such other and further relief as the Court deems just and proper.

                   2

                   3                                                       THE HANAGAMI LAW FIRM
                                                                           A Professional Corporation
                   4

                   5
                       Dated: July 9,2009
                   6

                   7

                   8

                   9                                         REQUEST FOR JURy TRIAL
                  10                 Plaintiff and Qui Tam Relator James M. Swoben hereby requests a trial by jury.

                  11

                  12                                                       THE HANAGAMI LAW FIRM
                                                                           A Professional Corporation
                  13
                                                                                                 f
                  14
                       Dated: July 9,2009                            By:    JdtZ          ..
                  15                                                       William K. Han gam
                                                                           Attorneys for Plamtiff and
                  16                                                       James M. Swoben
                       Compiaint.PO i. wpd

                  17

                  18

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                                                                      COMPLAINT
Case 2:09-cv-05013-JFW-JEM Document 1 Filed 07/13/09 Page 9 of 11 Page ID #:9



                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA


       NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY


                  This case has been assigned to District Judge John F. Walter and the assigned discovery
            Magistrate Judge is John E. McDermott.

            The case number on all documents filed with the Court should read as follows:

                                                  CV09- 5013 JFW                         (JEMx)

            Pursuant to General Order 05-07 of the United States District Court for the Central
      District of California, the Magistrate Judge has been designated to hear discovery related
      motions.




      All discovery related motions should be noticed on the calendar of the Magistrate Judge




       ----------------------------------------
       ----------------------------------------
                                                                NOTICE TO COUNSEL

    A copy of this notice must be served with the summons and complaint on all defendants                 (if a removal action is
    filed, a copy of this notice must be served on all plaintiffs).

    Subsequent      documents     must be filed at the following location:

    [Xl Western Division                            U Southern Division                             U Eastern Division
          312 N. Spring St., Rm. G-8                       411 West Fourth St., Rm. 1-053               3470 Twelfth St., Rm. 134
          Los Angeles, CA 90012                            Santa Ana, CA 92701-4516                     Riverside, CA 92501




    Failure to file at the proper location will result in your documents   being returned to you.




    CV-18 (03/06)             NOTICE OF ASSIGNMENT           TO UNITED STATES MAGISTRATE            JUDGE FOR DISCOVERY
  --           Case 2:09-cv-05013-JFW-JEM    Document 1 Filed 07/13/09 Page 10 of 11 Page ID #:10
                          UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                       CIVIL COVER        SHEET         [Under          seal       per       31 USC
                                                                                                                                                                 ...                 sec.      3730 (h) (';
 I (a) PLAINTIFFS (Check box ifvou are reoresentinl! vo~lfO)                                           DEFENDAt'lTS
        United States of America,      ..s~~ t4- C
                                        .           l'o {          .+e-t- .••..••
                                                                          ~    ~I                         .:seA-u         H<c (4:4           Pt~J            ~.1roC                 t.. ~        ~c-b~~
                                  J o,.a.......-4 s..     \.1\.   s.-w   D   bL-A                                                                            ~~k-


                                                                                                       Attorneys (If Known)




                                                                                      III. CITIZENSHIP      OF PRINCIPAL        PARTIES - For Diversity Cases Only
                                                                                           (Place an X in one box for plaintiff and one for defendant.)

                                           03    Federal Question (U.S.                                                            PTF       DEF                                                 PTF      DEF
iii US. Government Plaintiff
                                                 Government Not a Party)              Citizen of This State                        01        01       Incorporated or Principal Place            04       O~
                                                                                                                                                      of Business in this State

o 2 U.s. Government        Defendant       04    Diversity (Indicate Citizenship      Citizen of Another State                     02        02       Incorporated and Principal Place           05       05
                                                 of Parties in Item III)                                                                              of Business in Another State

                                                                                      Citizen or Subject of a Foreign Country      0 3       0 3      Foreign Nation                             06       06

IV. ORIGIN        (Place an X in one box only.)

!i'1 Original         02     Removed from        0 3 Remanded from         04      Reinstated or   0 5 Transferred     from another district (specify):       06       Multi-         o 7 Appeal to District
                             State Court             Appellate Court               Reopened                                                                            District             Judge from
     Proceeding
                                                                                                                                                                       Litigation           Magistrate Judge

V. REQUESTED           IN COMPLA~T:              JURY DEMAND:             Yes      0 No (Check 'Yes' only if demanded in complaint.)

CLASS ACTION          under F.R.C.P. 23: 0 Yes           tiNo                                      ri MONEY DEMANDED              IN CO,,"IPLAINT:           $- ,

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause.                         Do not cite jurisdictional      statutes unless diversity.)
         False Claims Act (31 U.S.c. seclions 3729, et seq.)
VII. NATURE         OF SUIT (Place an X in one box only.)

                                                                                      • TORTS                         TORTS                        PRISONER                                 LABOR
       OTHER STATUTES                             CONTRACT
                                                                                PERSONAL INJURY                     PERSONAL                      PETITIONS                  0710   Fair Labor Standards
0400      State Reapportionrrent       :J 110 Insurance
0410      Antitrust                    0120     Marine                       0310   Airplane                        PROPERTY                o 510 Motions to                        Act
                                                                             0315   Airplane Product          0370    Other Fraud                   Vacate Sentence          0720   Labor/Mgmt.
0430      Banks and Banking            ::J 130  Miller Act
                                                                                                                                                                                    Relations
                                                                                    Liability                 0371    Truth in Lending              Habeas Corpus
0450      Commerce/ICC                 ::J 140  Negotiable InstlUment
          Ratesietc.                   ::J 150  Recovery of
                                                                             0320   Assault, Libel &          o 380 Other Personal          0530    General                  0730   LaborlMgmt.
                                                                                    Slander                           Property Damage       0535    Death Penalty                   Reporting &
[J 460    Deportation                           Overpayment &
                                                                             0330   Fed. Employers'           0385    Property Damage       0540    Mandamus/                       Disclosure Act
D 470     Ra~keteer Intluenced                  Enforcement of
                                                                                    Liability                         Product Liability             Other                    0740   Railway Labor ACI
          and Corrupt                           Judgment
          Organizations                =    151 Medicare Act
                                                                             0340
                                                                             0345
                                                                                    Marine
                                                                                    Marine Product
                                                                                                              0422
                                                                                                                   BANKRUPTCY
                                                                                                                      Appeal 28 USC
                                                                                                                                            0550
                                                                                                                                            0555
                                                                                                                                                    Civil Rights
                                                                                                                                                    Prison Condition
                                                                                                                                                                             0790   Olher Labor
                                                                                                                                                                                    Litigation
[] 480    Consumer Credit              :' 152 Recovery of Defaulted                 Liability
                                                                                                                      158                        FORFEITURE /                0791   EmpL Ret. Inc.
[] 490    CableiSat TV                          Student Loan (ExcL           0350   Motor Vehicle
                                                                                                              0423    Withdrawal 28                PENALTY                          Security Act
o 8iO     Selective Service                     Veterans)                    0355   Motor Vehicle
                                                                                                                                            0610    Agriculture                  PROPERTY.RIGHTS
          Securities/Cammodities'      ::J 153 Recovery of                                                            USC 157
0850                                                                                Product Liability
                                                Overpayment of                                                     CIVIL RIGHTS             o 620 Other Food &               o 820 Copyrights
          Exchange                                                           0360   Other Personal
                                                                                                              0441    Voting                        Drug                     0830   Patent
[] 875    Customer Challenge 12                 Veteran's Benefits                  Injury
                                                                                                              0442    Employment            [] 625 Drug Related              0840   Trademark
          USC 3410                     ::J 160 Stockholders'Suits            0362   Personal Injury-
                                                                                                                      Housing! Acco-                Seizure of                   SOCIAL SECURITY
;£890     Other Statutory Actions      ::J 190 Other Contract                       Med Malpractice           0443
                                                                                                                                                    Property 21 USC          0861   HIA (1395f1)
                                       ::J 195 Contract Product              0365   Personal Injury-                  mmodations
0891      Agricultural Act                                                                                                                                                          Black Lung (923)
                                                                                                              0444    Welfare                       881                      0862
[] 892    Economic Stabilization                Liability                           Product Liability
                                                                                                              0445    American with         0630    Liquor Laws              0863   DlWC/DIWW
          Act                          :: 196 Franchise                      0368   Asbestos Personal
0893      Environmental Matters                REAL PROPERTY                        Injury Product                    Disabilities -        CJ 640 R.R. & Truck                     (405(g))
                                                                                                                      Employment            0650    Airline Regs             0864   SSID Title XVI
0894      Energy Allocation Act        .::J 210 Land Condemnation                   Liability
                                                                                                                                                    Occupational             0865   RSI (405(g»
                                                                                  IMMIGRATION                 0446    American with         0660
0895      Freedom of Info. Act         :: 220 Foreclosure
                                                                             0462   Naturalization                    Disabilities -                Safety /Health              FEDERAL T AXSUITS
0900      Appeal of Fee DetemU-        ::J 230 Rent Lease & Ejectment                                                                               Other                    0870   Taxes (U.S. Plaintiff
                                       ::J 240 Torts to Land                        Application                       Other                 0690
          nation Under Equal
                                                                             0463   Habeas Corpus-                    Other Civil                                                   or Defendant)
          Access to Justice            ::J 245 Tort Product Liability               Alien Detainee
                                                                                                              0440
                                                                                                                                                                             0871   IRS-Third Party 26
          Constitutionality of         ::J 290 All Other Real Property                                                Rights
0950                                                                                                                                                                                USC 7609
                                                                             0465   Other Immigration
          State Statutes
                                                                                    Actions




FOR OFFICE         USE ONLY:           Case Number:
                                                                                    e-vtl9- 58-13                                                        _

                           AFTER CO:\IPLETING            THE FRONT       SIDE OF FORM CY-71, COMPLETE                    THE INFORMATION               REQUESTED            BELOW.

                                                                                                                                                                                                      Page I of:
CV -71 (05108)
                                                                                        CIVIL COYER           SHEET
                   Case 2:09-cv-05013-JFW-JEM Document 1 Filed 07/13/09 Page 11 of 11 Page ID #:11
                                             UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                              CIVIL COVER SHEET


 VIII(a).    IDENTICAL          CASES: Has this action been previously filed in this court and dismissed, remanded or closed?                  li'No    0 Yes
 If yes, list case number(s): ------------------------------------------------------

 VIII(b). RELATED CASES:                 Have any cases been previously filed in this court that are related to the present case? ~No                  0 Yes
 [fyes, list case number(s):                                                                                                                                                                                  _


 Civil cases are deemed related if a previously              filed case and the present      case:
 (Check all boxes that apply)          0 A. Arise from the same or closely related transactions, happenings, or events; or
                                       o B. Call for determination          of the same or substantially related or similar questions of law and fact; or
                                       DC.    For other reasons would entail substantial duplication oflabor if heard by different judges; or
                                       o D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.
 IX. VENUE:        (When completing the following information,               use an additional sheet if necessary.)

 (a}    List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
 f£     Ch ec k h ere 1'f t h e government, Its
                                            .. agencies or employees
                                                               1     . a name dI plamtl
                                                                     IS           l'    'ff . If th'IS box is c h ecked, gO to item (b) .

    County in Ihis District:'                                                                             California County outside Oflhis District; State, if other than California; or Foreign Country
 Los Angeles




(b)    List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
o      Ch ec k h ere I'fth e government, ItS agencIes or employees
                                                             I     IS a name d d-e fien d ant. If t h'IS b ox IS
                                                                                                              . c h ec k e d , go to Item ( c ) .

    County in this District:'                                                                             California County outside of this District; State, if other than California; or Foreign Country
 Los Angeles
                                                                                                                                                                                              ..

(c)    List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
       Note: In land condemnation cases, use the location of the tract of land involved.

  County in Ihis District:'                                                                               California County outside of this District; State, if other than California; or Foreign Country

 Los Angeles




* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara,                            or San Luis Obispo Counties
Note: In land condemnation cases use the location of the tract ofland involved

X. SIGNATURE            OF ATTORNEY          (OR PRO PER):                                                                            Date July 9 2009

       Notice to Counsel/Parties:     The CV -71 (1S-44) Civil Cover Sheet and the informal'         contained herein neither replace nor supplement the filing and service of pleadings
       or other papers as required by law. This form, approved by the Judicial Conference of         United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
       but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)
                             ~.                                                                                                                                                                     .
Key to Statistical codes relating to Social Security Cases:

                  Nature of Suit Code            Abbreviation             Substantive   Statement     of Cause of Action


                  861                            HIA                      All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
                                                                          Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
                                                                          program. (42 U.S.c. 1935FF(b»

                  862                            BL                       All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
                                                                          (30 U.S.c. 923)

                  863                            DIWC                     All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
                                                                          amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.c. 405(g»

                 863                             DIWW                     All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
                                                                          Act, as amended. (42 U.S.C. 405(g»

                 864                             SSID                     All claims for supplemental     security income payments based upon disability filed under Title 16 of the Social Security
                                                                          Act, as amended.

                 865                             RSI                      All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.              (42
                                                                          U.S.c. (g»



CV -71 (05/08)                                                                               CIVIL COVER SHEET                                                                                     Page 2 of2
